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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


KERRY MOLIERE                                     §      Docket No. 2:23-cv-04543
                                                  §
                                                  §
Versus                                            §      Judge: SARAH S. VANCE
                                                  §
                                                  §
LIBERTY MUTUAL                                    §      Magistrate Judge: DONNA PHILLIPS
                                                  §      CURRAULT


______________________________________________________________________________

               VOLUNTARY MOTION TO DISMISS WITHOUT PREJUDICE


          NOW INTO COURT, comes undersigned counsel, and respectfully request this

Honorable Court to grant its Voluntary Motion to Dismiss Without Prejudice for the reasons set

forth below.

          1. Plaintiff, KERRY MOLIERE, initially signed a contract of representation with

McKinney, Mosley and Associates (hereinafter "MMA");

          2. As this Court is well aware, MMA was subsequently removed from representation in all

cases involving Hurricane Ida;

          3. The file was referred to the Galindo Law Firm for further handling and Galindo Law

firm attempted to contact, without success, Plaintiff;

          4. On August 27, 2023, in an abundance of caution and in order to preserve Plaintiff's

rights, Galindo Law Firm filed a complaint to avoid any issue of liberative prescription in the

matter;
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        5. Subsequently, undersigned counsel attempted to contact the client by email and phone

calls multiple times after the filing of the lawsuit.

        6. In a last effort to contact the client, Galindo Law visited the last known home address of

the Plaintiff on October 25th, 2023. No one answered the door. As such, undersigned counsel has

not had communication with the Plaintiff after doing all due diligence.

        Accordingly, upon due consideration of the facts and law, Plaintiff wishes to voluntarily

dismiss her claim without prejudice.

        WHEREFORE, undersigned counsel respectfully requests this Honorable Court GRANT

this Motion and enter an order dismissing the above-referenced claim.


                                                        Respectfully Submitted,

                                                        /s/ Mark Ladd_____________
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